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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


PAIGE KINNEY,

            Petitioner,

v.                                           Case No.: 4:20cv269-MW/MJF


STRONG,

          Respondent.
_________________________/

       ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 18, and has also reviewed de novo Petitioner’s

objections, ECF No. 19.

      Accordingly,

      IT IS ORDERED:

      The report and recommendation, ECF No. 18, is accepted and adopted, over

Petitioner’s objections, as this Court’s opinion. The Clerk shall enter judgment

stating, “Petitioner’s petition for writ of habeas corpus is DISMISSED without

prejudice for failure to prosecute and failure to comply with court orders.” The
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Clerk shall close the file.

      SO ORDERED on March 30, 2021.

                                   s/Mark E. Walker
                                   Chief United States District Judge




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